                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN




WILLIAM FEEHAN,

                            Plaintiff,                        CASE NO. 2:20-cv-1771
               v.

WISCONSIN ELECTIONS COMMISSION,
  and its members ANN S. JACOBS,
  MARK L. THOMSEN, MARGE
  BOSTELMAN, JULIE M. GLANCEY,
  DEAN KNUDSON, ROBERT F.
  SPINDELL, JR., in their official
  capacities, GOVERNOR TONY EVERS,
  in his official capacity,

                            Defendants.

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                PLAINTIFF’S MOTION FOR LEAVE TO SUBMIT
      SEPARATE REPLIES TO MULTIPLE SUBMISSIONS BY DEFENDANTS
          AND AMICI OPPOSING PLAINTIFF’S AMDEND MOTION FOR
            TEMPORARY RESTRAINING ORDER AND PRELIMINARY
         INJUNCTION TO BE CONSIDERED IN AN EXPEDITED MANNER
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    COMES NOW Plaintiff, William Feehan by and through his undersigned counsel, and moves

the Court to permitting him to submit separate or consolidated replies of 15 pages each to each of

the multiple submissions of Defendants and Amici in opposition to Plaintiff’s Motion for

Temporary Restraining Order and Preliminary Injunction to Be Considered in an Expedited

Manner (Amended Motion).

    In support, Plaintiff shows:

  1) By Order dated December 4, ECF Docket No. 29, the Court referenced “Civil L.R. 7(f),

which provides that memoranda in opposition to motions are limited to thirty pages and reply

briefs in support of motions are limited to fifteen pages.”
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  2) Civil Local Rule 7(f) further provides that briefs may not exceed those page limits “unless

the Court has previously granted leave to file an oversized memorandum.”

  3) By the same Order, the Court directed Defendants Gov. Tony Evers and Wisconsin Elections

Commission to file an “opposition brief” to Plaintiff’s Amended Motion by 5:00 p.m. on Monday,

December 7, 2020, and directed Plaintiff to file his reply by 5:00 p.m. on Tuesday, December 8.

  4) While the reference is to a single brief, Defendants are represented by separate counsel, and

Plaintiff anticipates that each Defendant will file a separate 30 page brief in opposition to Plaintiff’s

Amended Motion.

  5) Subsequently on December 4, Defendant Gov. Tony Evers filed a Motion Requesting Leave

to File an Oversized Memorandum of 45 pages in support of his proposed Motion to Dismiss and

in response to Plaintiff’s Amended Motion. ECF Docket No. 34.

  6) By Text Order dated December 4, ECF Docket No. 36, the Court indicated the Court would

allow Gov. Tony Evers leave to file “separate briefs opposing the plaintiff’s amended motion and

supporting his own.” Pursuant to Civil L. R. 7(f), the separate brief apparently may be 30 pages as

well.

  7) By Order dated December 4, ECF Docket No. 37, the Court granted leave to proposed

Intervenor James Gesbeck to file an amicus brief of 30 pages opposing Plaintiff’s Amended

Motion.

  8) By Order dated December 6, ECF Docket No. 41, the Court granted leave to proposed

Intervenor Democratic National Committee to file an amicus brief opposing Plaintiff’s Amended

Motion for Temporary Restraining Order, also presumably 30 pages, the same as Amici Gesbeck.

  9) The total page limit of opposition to Plaintiff’s Amended Motion may therefore total as many

as 150 pages.




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 10) Under the Court’s December 4 Order, Docket No. 29, Plaintiff is apparently limited, at

present, to a single 15 page reply in response to the total 150 pages filed in opposition.

 11) While Plaintiff may well not file a 15 page Reply to each and every submission, Plaintiff

cannot anticipate all arguments raised by multiple Defendants and Amici, and in any event, a limit

of 15 pages is inadequate to reply to up to 150 pages of opposing submissions by Defendants and

Amici.

                                          CONCLUSION

   Based on the Court’s stated preference that Gov. Evers file separate briefs supporting his Motion

to Dismiss and opposing Plaintiff’s Amended Motion, Plaintiff therefore requests leave to file a

separate Reply to each opposing submission, each Reply not to exceed 15 pages.



         Respectfully submitted, this 6th day of December, 2020.


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